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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


EMOJI COMPANY GmbH,

        Plaintiff,
                                                     Case No.: 20-cv-3862
v.
                                                     Judge: Joan B. Gottschall
WUPENGFEI et al.,

        Defendants.


                             PRELIMINARY INJUNCTION ORDER

        THIS CAUSE being before the Court on EMOJI COMPANY GmbH’s Motion for a

Preliminary Injunction, and this Court having considered the evidence before it hereby GRANTS

Plaintiff’s Motion for Entry of a Preliminary Injunction in its entirety against the Defendants

identified in Schedule A attached hereto (collectively, the “Defendants”).

        THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants

since the Defendants directly target their business activities toward consumers in the United

States, including Illinois. Specifically, Defendants are reaching out to do business with Illinois

residents by operating one or more commercial, interactive Internet Stores through which Illinois

residents can purchase products bearing infringing and/or counterfeit versions of Plaintiff’s

EMOJI Trademarks (the “EMOJI Products”).

        THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65.        Evidence submitted in support of this Motion and in support of Plaintiff’s



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previously granted Motion for a Temporary Restraining Order establishes that Plaintiff has a

likelihood of success on the merits; that no remedy at law exists; and that Plaintiff will suffer

irreparable harm if the injunction is not granted.

        Specifically, Plaintiff has made a prima facie showing of trademark infringement because

(1) the EMOJI Trademarks are distinctive marks and registered with the U.S. Patent and

Trademark Office on the Principal Register as U.S. Trademark Registration Nos. 4,868,832;

5,202,078 and 5,415,510 for the EMOJI marks, (2) Defendants are not licensed or authorized to

use EMOJI Trademarks, and (3) Defendants’ use of the EMOJI Trademarks are causing a

likelihood of confusion as to the origin or sponsorship of Defendants’ products with EMOJI

COMPANY GmbH. Furthermore, Defendants’ continued and unauthorized use of the EMOJI

Trademarks irreparably harms Plaintiff through diminished goodwill and brand confidence,

damage to Plaintiff’s reputation, loss of exclusivity, and loss of future sales. Monetary damages

fail to address such damage and, therefore, Plaintiff has an inadequate remedy at law. Moreover,

the public interest is served by entry of this Preliminary Injunction to dispel the public confusion

created by Defendants’ actions.

        Accordingly, this Court orders that:

1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

        and all persons acting for, with, by, through, under or in active concert with them be

        temporarily enjoined and restrained from:

         a. using Plaintiff's EMOJI Trademarks or any confusingly similar reproductions,

            counterfeit copies or colorable imitations thereof in any manner in connection

            with the distribution, marketing, advertising, offering for sale, or sale of any




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        product that is not a genuine EMOJI Product or not authorized by Plaintiff to

        be sold in connection with Plaintiff's EMOJI Trademarks;

   b.   passing off, inducing, or enabling others to sell or pass off any product as a

        genuine EMOJI Product or other product produced by Plaintiff, that is not

        Plaintiff's or not produced under the authorization, control or supervision of

        Plaintiff and approved by Plaintiff for sale under Plaintiff's EMOJI

        Trademarks;

   c.   committing any acts calculated to cause consumers to believe that Defendants'

        products are those sold under the authorization, control or supervision of

        Plaintiff, or are sponsored by, approved by, or otherwise connected with

        Plaintiff;

   d.   further infringing Plaintiff's EMOJI Trademarks and damaging Plaintiff's

        goodwill;

   e.   otherwise competing unfairly with Plaintiff in any manner;

   f.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner, products or

        inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be

        sold or offered for sale, and which bear Plaintiff's EMOJI Trademarks or any

        confusingly similar reproductions, counterfeit copies or colorable imitations

        thereof;

   g.   using, linking to, transferring, selling, exercising control over, or otherwise

        owning the Online Marketplace Accounts, the Defendant Domain Names, or




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             any other domain name or online marketplace account that is being used to sell

             (now or in the future) Counterfeit EMOJI Products; and

        h.   operating and/or hosting websites at the Defendant Domain Names and any

             other domain names registered or operated by Defendants that are involved

             with the distribution, marketing, advertising, offering for sale, or sale of any

             product bearing Plaintiff's EMOJI Trademarks or any confusingly similar

             reproductions, counterfeit copies or colorable imitations thereof that is not a

             genuine EMOJI Product or not authorized by Plaintiff to be sold in connection

             with Plaintiff's EMOJI Trademarks.

2.      Each Defendant, within fourteen (14) days after receiving notice of this Order, shall serve

        upon Plaintiff a written report under oath providing: (a) their true name and physical

        address, (b) all websites and online marketplace accounts on any platform that it owns

        and/or operate (c) their financial accounts, including all Wish accounts, and (d) the steps

        taken by that Defendant to comply with paragraph 1, a through h, above.

3.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

        Interest Registry, within three (3) business days of receipt of this Order or prior to

        expiration of this Order, whichever date shall occur first, shall, at Plaintiff's choosing:

             a. unlock and change the registrar of record for the Defendant Domain Names

                to a registrar of Plaintiff's selection until further ordered by this Court, and

                the domain name registrars shall take any steps necessary to transfer the

                Defendant Domain Names to a registrar of Plaintiff's selection until further

                ordered by this Court; or


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            b. disable the Defendant Domain Names and make them inactive and

                untransferable until further ordered by this Court.

4.      Those in privity with Defendants and with actual notice of this Order, including any online

        marketplaces such as iOffer and Alibaba Group Holding Ltd., Alipay.com Co., Ltd. and

        any related Alibaba entities (collectively, "Alibaba"), social media platforms, Facebook,

        YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and Yahoo,

        web hosts for the Defendant Domain Names, and domain name registrars, shall within

        three (3) business days of receipt of this Order:

            a. disable and cease providing services for any accounts through which

                Defendants engage in the sale of counterfeit and infringing goods using the

                EMOJI Trademarks, including any accounts associated with the

                Defendants listed on Schedule A;

            b. disable and cease displaying any advertisements used by or associated with

                Defendants in connection with the sale of counterfeit and infringing goods

                using the EMOJI Trademarks; and

            c. take all steps necessary to prevent links to the Defendant Domain Names

                identified on Schedule A from displaying in search results. This includes,

                but is not limited to removing links to the Defendant Domain Names from

                any search index.

5.      Defendants and any third party with actual notice of this Order who is providing services

        for any of the Defendants, or in connection with any of Defendants' websites at the

        Defendant Domain Names or other websites operated by Defendants, including, without

        limitation, any online marketplace platforms such as iOffer and Alibaba, advertisers,


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   Facebook, Internet Service Providers ("ISP"), web hosts, back-end service providers, web

   designers, sponsored search engine or ad-word providers, banks, merchant account

   providers, including Wish, third party processors and other payment processing service

   providers, shippers, and domain name registrars (collectively, the "Third Party Providers")

   shall, within five (5) business days after receipt of such notice, provide to Plaintiff

   expedited discovery, including copies of all documents and records in such person's or

   entity's possession or control relating to:

       a. The identities and locations of Defendants, their agents, servants,

          employees, confederates, attorneys, and any persons acting in concert or

          participation with them, including all known contact information;

       b. the nature of Defendants' operations and all associated sales and financial

          information,    including, without         limitation, identifying information

          associated with the Online Marketplace Accounts, the Defendant Domain

          Names, and Defendants' financial accounts, as well as providing a full

          accounting of Defendants' sales and listing history related to their respective

          Online Marketplace Accounts and Defendant Domain Names;

       c. Defendants' websites and/or any Online Marketplace Accounts;

       d. The Defendant Domain Names or any domain name registered by

          Defendants; and

       e. Any financial accounts owned or controlled by Defendants, including their

          agents, servants, employees, confederates, attorneys, and any persons acting

          in concert or participation with them, including such accounts residing with

          or under the control of any banks, savings and loan associations, payment


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               processors or other financial institutions, including, without limitation,

               Wish and Western Union, or other merchant account providers, payment

               providers, third party processors, and credit card associations (e.g.,

               MasterCard and VISA).

6.      Defendants and any persons in active concert or participation with them who have actual

        notice of this Order shall be temporarily restrained and enjoined from transferring or

        disposing of any money or other of Defendants' assets until further ordered by this Court.

7.      ContextLogic, Inc. ("Wish") shall, within two (2) business days of receipt of this Order,

        for any Defendant or any of Defendants' Online Marketplace Accounts or websites:

            a. Locate all accounts and funds connected to Defendants, Defendants' Online

                Marketplace Accounts or Defendants' websites, including, but not limited to, any

                Wish accounts connected to the information listed in Schedule A hereto; and

            b. Restrain and enjoin any such accounts or funds that are China or Hong Kong based

                from transferring or disposing of any money or other of Defendants' assets until

                further ordered by this Court.


8.      Plaintiff may provide notice of these proceedings to Defendants, including notice

         of any future hearings and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

        electronically publishing a link to the Amended Complaint, this Order and other relevant

        documents on a website to which the Defendant Domain Names are transferred to

        Plaintiff's control will redirect, or by sending an e-mail to the e-mail addresses identified

        in Schedule A hereto; and any e-mail addresses provided for Defendants by third parties

        accompanied by a link to the website where the above-identified documents are located.

        The combination of providing notice via electronic publication or e-mail, along with any

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       notice that Defendants receive from domain name registrars and payment processors, shall

       constitute notice reasonably calculated under all circumstances to apprise Defendants of

       the pendency of the action and afford them the opportunity to present their objections.

   9. Plaintiff's Schedule A to the Amended Complaint, and the TRO are unsealed. All

       previously sealed documents in this case are unsealed.

   10. Any Defendants that are subject to this Order may appear and move to dissolve or


       modify the Order on two days' notice to Plaintiff or on shorter notice as set by this Court.

   11. Plaintiff shall post a $10,000.00 bond with the Court within 1 week of entry of this

       order.


Dated: July 22, 2020

                                              _____/s/________________________________
                                              Joan B. Gottschall
                                              United States District Court Judge




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                                SCHEDULE A

                  No                Defendants
                    1    wupengfei
                    2    wutin
                    3    KUANGMENGFAN
                    4    litingting55
                    5    Cherish blue grace
                    6    chunpingdian
                    7    cairui
                    8    chichichi
                    9    chn mk
                   10    CWJ company
                   11    dingdong2014
                   12    Guangzhou Feiyang Electronic Factory
                   13    guoji
                   14    hanxueling
                   15    In the shop
                   16    jane's super market
                   17    liulan store
                   18    pengpeng's collection
                   19    plokm258369@163.com
                   20    Romanceeee
                   21    shopping Happy O Yes
                   22    woaiwangyi188@163.com
                   23    yqbergkamp1204shop
                   24    15205060710
                   25    15825660678@163.com
                   26    2016*happystore
                   27    adongjiayou
                   28    Adventure and Monotony
                   29    afdesx fashion store
                   30    All-in Globalmartket
                   31    ammos nxehemiah coltd
                   32    asdfgt
                   33    asuacxmj
                   34    axfybfyyzyq
                   35    ayu0811
                   36    AZI86221
                   37    azsahfbrs
                   38    ba


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                    39   Baby Love
                    40   Beyond Fashion
                    41   biweizhijia
                    42   bruc shopping
                    43   caihao
                    44   caixue fashion
                    45   caiyidian
                    46   Canbin Fashion Online
                    47   ChangZhou liv Ltd
                    48   chaofeng88
                    49   chaoyanyu
                    50   CHENGXIN27
                    51   chenjingjing521
                    52   chenrong123
                    53   chicnova fashion
                    54   China various commodity shops
                    55   ChinaBwin
                    56   ChongQing Hot Pot
                    57   Classic trend shop
                    58   clothes market 2015
                    59   codosale
                    60   Composedream
                    61   Crayons' International Trade
                    62   cylkjhg
                    63   daiyuxiu
                    64   damishops
                    65   danxiaoxiangny
                    66   daserwd fashion store
                    67   Dawang.co.ltd
                    68   daxueyuan
                    69   Demin
                    70   dhfuiyeihr
                    71   dingqier fashion
                    72   DONGGUAN CHUANQI INDUSTRIAL
                         CO., LTD.
                    73   dongrui shop
                    74   dongyi fashion
                    75   Dove valley shop
                    76   duqingyunpp
                    77   East International Knitting Co.,Ltd.
                    78   Exciting Little Farm
                    79   Fashion Maker Co,LTD

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                    80   Fashion Tops Factory
                    81   FASHION WEY
                    82   Fashion21
                    83   fengyandian
                    84   fugeng fashion
                    85   funnyshirts
                    86   gaodanfeng
                    87   Goblinger
                    88   guotongtong
                    89   HappyBJ
                    90   HEKEY
                    91   hhnewtrends
                    92   High Quality Goods
                    93   HK rianB store
                    94   huanyugaoke
                    95   hui_adm
                    96   huixu fashion store
                    97   jingnadian
                    98   jqshadow
                    99   JUN
                   100   KaiLi Rice Dumplings
                   101   kthzrysg
                   102   Lanxi Hao Bo ecommerce.Co.， Ltd.
                   103   liaolidian
                   104   liaoshutingdian
                   105   lilonggang908906
                   106   LINHUAN7
                   107   liulijun168
                   108   liuqing fashion
                   109   longchaoqun fashion
                   110   lovelyxu
                   111   luodeying
                   112   luyi fashion
                   113   LYPP
                   114   mingheminxiongmei
                   115   MK7RVUUH
                   116   Mobile phone accessories LTD
                   117   Mosesid
                   118   mrkong trading company
                   119   new fashion 1992
                   120   Niecisy Handbags


                                      11
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                   121   nimengting
                   122   nokelo store
                   123   official*zhiyong
                   124   omhhkb shopping
                   125   one person001
                   126   ouqu334 plaza
                   127   Our Day
                   128   panliuming fashion
                   129   panwei 123
                   130   Pefect
                   131   pengmingzhu
                   132   puan fashoin
                   133   qianliuying8056126
                   134   qinxiaoning8866
                   135   qinxuededianpu
                   136   qiushu
                   137   Qliuyun
                   138   ROTASHAR
                   139   RuoMu
                   140   rzuby
                   141   SANWELL88
                   142   shench1740730
                   143   spearnaily
                   144   sportniu
                   145   tanghua fashion
                   146   THANKSCC
                   147   tingtingdian
                   148   Tongren mung flour
                   149   UwlyssesAyndrewmall
                   150   weideyua Friday
                   151   weiweidian
                   152   weiyuelong
                   153   wfpSimple
                   154   Wiodg
                   155   wuhoodie
                   156   wujinzong678
                   157   wujunyi5566
                   158   wuqiuzengqian
                   159   wushenghong fashion
                   160   WXBBV USGB IINV
                   161   Xia Yu Koizumi scissors brand


                                       12
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                   162   xiao jun 668
                   163   Xiao wu big yards shop
                   164   xiaomingzhang wholeshop
                   165   Xiaopingmilk
                   166   xijnmv fashion store
                   167   xinglidian
                   168   Xinlan66088
                   169   xutiantian2016
                   170   xuzhiwei
                   171   yadana
                   172   Yang_ming
                   173   yanmingdian
                   174   yanzace
                   175   yunyysh
                   176   yxx151010
                   177   zeduandian
                   178   zfgdfgdfgzcfg
                   179   ziyanpingg
                   180   zuf55ma
                   181   longsand
                   182   racefish
                   183   runningcity
                   184   southhillpark
                   185   stonehomevalley
                   186   Sun & Spring
                   187   jfgiromnjdu
                   188   langerton
                   189   lotusmiss
                   190   sxl65546
                   191   fastfashiontrend
                   192   faxianmeideni
                   193   fdrhgfthjyt
                   194   forever new life
                   195   gaosiyu
                   196   GL
                   197   Globalebuy Co., LTD.
                   198   Graceful home
                   199   haolisayumi
                   200   Happy Island Toys Co.,LTD
                   201   happyboyqi
                   202   happylands


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                   203   highsky009
                   204   Home beauty trade co., LTD
                   205   huahuamall
                   206   infantcare21
                   207   jialongmaoyi232123
                   208   K COOL
                   209   LBchaoshen
                   210   lily boutique shop
                   211   LookingforGOOD
                   212   lsj
                   213   Megatop
                   214   meiliwmoon
                   215   mermaidpainting
                   216   mi shang company
                   217   pin yi xuan
                   218   Poppyhenler
                   219   qianggegongsi
                   220   rapidwood
                   221   Raytrad
                   222   REMOFON
                   223   Sasha168
                   224   Seashell02
                   225   SFJ-fashion store
                   226   shining shoes
                   227   shuting
                   228   Silier
                   229   Small peak building materials
                   230   Splendid VENUS
                   231   starfruit
                   232   Starships
                   233   sweetpower
                   234   taishanshan
                   235   taomumu
                   236   TIMO Fashion Store
                   237   Waltha-foes
                   238   argb
                   239   Heio shop
                   240   littlefairy520
                   241   Mystar491
                   242   Seeker
                   243   Sunwoif Co LTD


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                   244   Timothy
                   245   wisegood
                   246   YAOZI112233
                   247   Yes Fashion
                   248   yfy4
                   249   zhaijinxiu
                   250   zhangshulili
                   251   zhenzhen905
                   252   zhoululu86913
                   253   fy12345678901
                   254   mycos factory




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